Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 1 of 10

UNITED STATES DISTRICT COURT
SauUTHERN _ DISTRICT OF NEW YORK

 

LAVELLE Tob>D _, AMENDED -
Plaintiffs, COMPLAINT
_ Under the
-against- Civil Rights Act, 42 U.S.C. § 1983
A. ColomP0S vy Jury Trial: Yes v No _

 

 CotrectiMat | OFF ter Defendants,

I. Parties in this complaint:

A. Plaintiff eT eee |)

 

 

 

 

 

 

 

 

 

Lait FDR ARO OWT
Upstate Correctional Facility JUN 09 2022 ||

- P.O. Box 2001

~ Malone, NY 12953 PRO SE OFFICE

 

B. Defendant(s)

No.1 _4.C.0lom@2eS cpm ch nre-/ PAGO

 

 

 

 

No. 2

 

 

 

 

 

 

No.3

 

 

 

 

 

 

 

 

 
Il.

A.

B.

C.

Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 2 of 10

No. 4

 

 

 

 

 

Statement of Claim:

In what institution did the events giving rise to your claim(s) occur?

   

2Q\b

 

“Shoneville, New Sprk 12592».

 

 

Where in the institution did the events giving rise to your claim(s) occur?
3 eS Sparel,
at le corridor.

 

 

What date and approximate time did the events giving rise to your

claim(s} occur? Mla Y PHY, 2OIS ar Bapyplrivrie D0 by ZItIDe

 

 

 

 

- Facts: _ Ay 2H, 201% ‘aintit Arrlastt

 
 

Kes aft pfor Saplycr

   

 

Ol VEAL « LAL LE
gfe CACO QL: 47
vs LAF VEEUVED l hie CACY?
LL f)) , JP o%, PO LF ft ~ teeSS
aS Cat Aber Lamecler fheantl At Pec eatiy Soe.
fer, At aS Catt
TUeeles / ; SS
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 3 of 10

WAP LAE rf e A > OYSCLRKITA CL;
fC if fA it Ce} ay re Te /lé D tic “2 fil 2S yo 2

Mt es, itt ff LLL t Lh OTF thnnectes-

puAT lA £10 y SOL C0x. 11 GO] Jef “Let MPA bhed

Hé if (A fie fee fra HE i ey Ae Ae pe, pai /f

ene ty Pd ice 74 -f tom bOS ahd Ofhher MA rey Le
OGL ICE. Lippe oll Jf" The inmate Le Le Meg
the Platot } BLS, TOLD Letin POO GPL L2 OP fly 2,

Of. ci CL te tee Lf 2) Y,

se tiey Mey LC. Sarr eo

Ill. Injuries:

  

[V. Exhaustion of administrative Remedies:

A. Did your claim(s) arise while you were confined in a jail,
prison, or other correctional facility?
Yes_v’ No

If YES, name the jail, prison, or other correctional facility where you were
confined at the time of the events giving rise to your claim(s).

Careen Haven CortectiPhal Pestle

 

 

 

 

 
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 4 of 10

B. Does the jail, prison, or other Correctional Facility where your claim(s)
arose have a grievance procedure?
Yes \“ No DoNot Know, _

C. Does the grievance procedure at the jail, prison, or other correctional facility:
where your claim(s) arose cover some or all of your claim(s)

Yes No DoNotKnow Y/
If YES, which claim(s)? There is only one claim made.

D. Dose the grievance procedure at the jail, prisons, or other Correctional
facility where your claim(s) arose not cover some of your claim(s)?

-Yes No  DoNot Know /
If YES, which claim(s)?

KE. Did you file a grievance in the jail, prisons, or other correctional facility
where your claim(s) arose?
Yes Sf No

_F. Ifyou did file a grievance, about the events described in this complaint,
where did you file the grievance? Green been C Orr Fac | ity

1. Which claim(s) in this complaint did you grieve? There is only one
complaint .

2. What was the result, if any? They told me that they were going to
investigate my grievance but I never heard from them again.

3. What steps, if any, did you take to appeal that decision? Describe all
efforts to appeal to highest level of he grievance process.

 

 

G. If you did not file a grievance, did you inform any officials of your claim(s)?
Yes No

l. If YES, whom did you inform and when did you inform them?

2. {If NO, why not? I did not file a claim until later when I realized that I
would suffer continuous chronic back pain.

1. Please set forth any additional information that is relevant to the exhaustion
of your administrative remedies.

 
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 5 of 10

V. Relief:

PlainktL clemands here that i¢ the defendants
are. held liable. buy and. OF? +he Application of the laws,
Hhereakter Said Icwil trial had'come to a Conclusion,
prgintiee tadubjeusly Lopes IS Ane DEMANP that

 

 

aruoupt Of £25, pyo-00, ct well at Cbene DEVE |
DartaaeS tL, the Ninf of G28 LOD» © E> |

 

 

VI. Previous lawsuits:
A. Have you filed other lawsuits j in state and federal court dealing with the
same facts involved in this action?

Yes No Af

B. N/A

D. Have you filed other lawsuits in state or federal court otherwise relating to
your imprisonment?

Yes No f
E. N/A

Signed this Ot day of Sune. . I declare under penalty of
perjury that the foregoing is true and correct.

Signature of Plaintiff ial, “df

Inmate Number _ . —/f (AOST le

Mailing address Upstate Correctional Facility
P.O. Box 2001
Malone, NY 12953

 
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 6 of 10

_I declare under penalty of perjury that on this *“day of. , fine,
20___, I will deliver this complaint to prison authorities to be mailed to the

Pro Se Office of the United States District Court of of the_ Su Merry
District of Ne ew York.

- - Signature of Plaintiff: a hulle fell

Swo ope n to Before me This

 

ERIKA RAE MARSHALL
re blic, Stale of New York
Notary 0 01MA6165752

Qualified in Franklin Coun
‘Commission Expires May 14, gn

 
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 7 of 10

Continuation of the Gets
One oF the inmades tho is unidentified ¢ Asked!

 

" bA hy do_oul Sahera. bags BUY be Searched fAis (8 0up

 

Lace poe ALe_prerrirs A there 1S 0 peasoy fo be

 

| Aarech hog Tt fen OP £1 CES... A. Co lornmbeas oe ee
s..0n. tlie. tesla teats Lib ich

ef _ COLL.
| @. 2Z, LEY y. Mg bed pot ype “~Y ce
Pler ees Lat ¢ CVEL

 

 

 

(7p caplalg _ COLL, Le Col. oflce.
plaiakie ZL Sat! (Be Citory ich

Le pot bee tf Se aA eo...
Loos on Ye. sab le_ofllles JA, Ce

wrunedesell ve
Lf fog EBA Bas Lin Deo patent wily LE
Compl Daeal

Abd flaiahtf "pave OP bicep J gplembos hy Fu

 

Cofhicer A Colombes cuby ll

| 7D —fhowitife LP asked by
De xo hich Av Colembes Gpreret

é€ NAF Sca:

 

 

Ot ficen Alo lenbes al’ Other officerS Phen. eonphied a

 

 

all Cop-terts in. all the Sabona. bias gota the ble Gd

 

 

Searched ~Prr tefl ball phe. Prod Snd ra _Contreleapel was |
LL: | Avera Lady Abi phe Ppa - ari flere CABS MO Cr Pile JOOP |
Ot any bo , ewveren ft Ahlattecd LO pe2wen |

Atle pte. Search Of all phe Saproter._ gps, Offer

 

| Ae ColoprheoS hee aE All of fhe. joptasel La

 

 

 

hase, Shab Ae o back te. ppeit peasine. La pie eo
Gul naneftes Lbs fr ye, Sheth foo2A h (rte Hhete..|
dL hog S- Ces Lael! QS Oho _plaintihe O.
AEE peaInhit finished , UC. (hig op al! e all Bis |
EL Cb IE eg
AOR ice 4 etlormabas Hee enleL L
ef black, Le ah, (alcinlGee _

 

 

Ne,

Oo fEc Ee pel aed hed Jack po dee Dhak owih.

other inmate! And wittice?! AA CrCorfe
Wee ext p2era

 

of ey eg PS 1 BE
VES tee. Aege OBO cn Peep eck on
OVitbebavin Aeee at LO: (ands De)

fener
‘ke Eiatricot S

Lu

 

 

 

 

 

 

(1)
ed Conbimstion Of tHe Facts

Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 8 of 10

 

 

 

. WAS Srearted Dl Coder by. 44. [lupph if t¢2 tabby
| flacinti th ¥2 rfeadk Not GEG hep all hin Ke aad callef —
i LAPS ICSSES... te fhe. A.

— On Mes , 27, / 2018_ at Vi22 a. “fl Bt fearing

 

 

Gee / Severe cred beg s S_ AAW Gr ptiey é atl Copteatt jpfe

oe woke, Ceese ce lerect- opoler- Cond Gal
| beck 7 405 4oudiag _Lacapian ced tleathedl back
OR AES OL. tv 5b Poth, ef). LA petedte sn. adh attpencled

LS rt nesses pes: Ler ed. Mall al. Lair tlhe oS, Toy

of  (10t. CASE per e ge al el
as 207 CSOr

Nox Ahmad(eon  Serisize fo

 

__H.0, Lf. Mery, es ol Sourned - the. heaving

LF: Ser LA fl AOS SL. eL Ses. of) pe brates 1 ariel L1OW CL

 

 

_platats Ait fe Shel Yon pine a gatk and pelealtye of
Lleintt}4F On Tttrr ME 20F aoe attr leetaotlen |

 

ftatat Wer, ancl oko ted plaintifl Zp right xD
Le ace Eo _ FEY =
i re Bie ed baie leet rere fielly ConBined fa Los

 

 

 

Cell for. riveteen LZ) Sa: wt khplokk, faint taal ——

 

SLE x Ci oletec! tn Pelnonf: renett. LO. keeplo <k__. _—

 

Qatttitt Lila LD COPSCLOLAS.. OF She. Confire nena _
c Defendant Fad Gpecied 4 Oud co palice2t.S§

 

| Sane LM bn be c

  

 

SL. fila DPE. trey feat HAs
SE let OL Dian

CELOCTL. Third nay end toralle Lane D2 Cathet oo

 

Se plats FILL: Fea_4 tL CELL, ZL PKG Coftfinsarent LAL

 

AL OS fer tLe eivi legecta

 

 

 

 

 

 

 
Case 7:21-cv-05226-CS Document 27 Filed 06/09/22 Page 9 of 10

Cantineaction of He. jntducies Oo

 

 

 

: Servi eS fs. COA fel (plpiS CXLICSCe ee

| OP ring Maghoib and Than at Corgespa Hisna/

 

 

 

 

 

(prac izable} i Heretehee , oe fplainbithre partreipete
NA Congredatiend {0 _~re er pus. GEE.

Dene Gr plainbith Here Lot pp. OF BL A CBLg soil
| pra Lpisibte Lirectly, , primers wel On Ppctfamer tte ey
ensible. for. hale Mae lp nel CXCSCOSR... fee fs vel,

alstarrfial foursber On.

 

Lis “oO” Ot Oxercrse_ a pattie Ate. LELIGE LOC

 

at prepibitives De Bhar, Oo pegpet oma Bie eS
Ze.
a Carzpied As Ole anesthe | prrPereS# LIZ (ale eX ed

Vo irik argued that “Nor wor Muslims Should be
pemited' to ofa atizaal yras Laat fasta). _—_
1008 Se LwtCes. Bohs Li Gper-tir lat prohibits po
earth YS OO Copa pe. Cis ovefnmenflal LNPeresye cory l
as the [east Crestrichve. reansCtk J  cathaheiser |

Atte. cellege Hear phe. fpobehole learnt Sethe Chek

 

- ee Sep ffi ls V7 planting at phe aforesaid {tbetty |

lim ae Conthecs that plautd eter 2 Siraplarls Ls oo
LS (Puated tnolivicheval, of Cnhinarg Fitting SL Spel ____]
lexerciting bic ot beer Cpastitiatte lel py hTo

The ttt ll fal, Heli berate, pHaliciateS, Ati
Peck/esS. BAOADAS Cf Vetere Coprectiana!. HE fear

 

 

(eee 0f Lae, Lact pe plata? fe.

2 Aegg Cock feck eatin. CReI2 YA Lt4 SESE: iv latocs —

NE LLL AoC arILTAS Z. (fe onacle—

 

ed Vocopeie Yo og A Spear Z
eh Bon “peta

| a TR, Bee pe ox SS
al tabrorca Ye cvisg op akon Bo.

 

pearl of Dec ne elie SS Lecopd, for oe fe.

 

 

Keapiadeat? tx LA bod £202" QOL

 

eT pela liats be Lb Alf at Aave. Asjbeneia _

 

 

 

 

 

 

oy ~ oo
 
 

|

to” WE Lf E OO
Upstate CorreGtaatal Falcitity05226-CS Document 27 Filed 06/09/22 Page 10 of 10 a. cee Popo

 

P.O. Box 2000 . TS Lo ane | ae oe

309 Bare Hill Road
Malone, NY 12953

 

 

 

 

peel thee A ele ed TY

 

 

 

 

 

PESTRILT COURT

SO i tHE, on DIRKTELCT CF AE iy’ GERK
C HARCES Ke Ericrtt Tike

. a af ff Let A 7A FES Caertlhe oe. fe
fEPARAL Ba LIPLIRS Anel Ctfl<

ZOO Cir ARRiPeas Street
pbite fleins, New Fork 160e /

LEGAL MALL

 
